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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
   LIABILITY LITIGATION
                                                      Case No. 16-md-02741-VC


   This document relates to:                          PRETRIAL ORDER NO. 318: ORDER
                                                      GRANTING IN PART AND DENYING
   Hutchison v. Monsanto Co.,                         IN PART MONSANTO’S MOTION TO
   Case No. 3:20-cv-03444-VC                          EXCLUDE EXPERT DR. CLAYTON
                                                      SMITH AND MOTION FOR
   Lopez v. Monsanto Co.,                             SUMMARY JUDGMENT
   Case No. 3:20-cv-05888-VC                          Re: Dkt. No. 18957


       Monsanto’s motion to exclude the testimony of Dr. Clayton Smith is granted in part and

denied in part. This ruling assumes the reader’s familiarity with the facts, the applicable legal

standard, the prior Daubert rulings in this MDL, and the arguments made by the parties. See

generally In re Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018)

(Pretrial Order No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp.

3d 956 (N.D. Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto
Company, 997 F.3d 941 (9th Cir. 2021).

       According to Monsanto’s Reply, the only live issue remaining from its motion is whether

Smith reliably ruled out other causes of the plaintiffs’ NHL. See Monsanto Reply (Dkt. No.

19502) at 1. For both plaintiffs, this includes exposure to other pesticides—Hutchison was

exposed to one called “Feed & Weed,” and Lopez was exposed to one called Guthion. As

previously stated, it is not scientific error to fail to “rule in” exposure to other pesticides when
there is no evidence they have an association with NHL. See Pretrial Order No. 295 (Dkt. No.
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19614) at 2. Since Monsanto has not presented any evidence that exposure to either pesticide is a

risk factor for NHL, Smith’s testimony will not be excluded for failure to consider them.

        Monsanto also argues that Smith’s treatment of natural replication errors shows that his

differential diagnosis was unscientific. But Smith adequately explained why the issue of natural

replication errors did not change his conclusions. See, e.g., Smith Dep. (Lopez) at 127:24–

128:24.

        Smith’s opinion in the Lopez case is nonetheless excluded because of how he handled

Lopez’s obesity. Smith’s opinion regarding obesity is very similar to the opinion about obesity

offered by a prior plaintiff’s expert, Dr. Schneider, which the Court excluded. See PTO No. 288.

(Dkt. No. 17504) at 9–10. Like Schneider, Smith wrote in his report (incorrectly) that the

plaintiff was not obese and did not discuss any evidence pertaining to obesity as a risk factor. See

Smith Report (Lopez) at 4. Like Schneider, Smith testified at deposition that his review of the

literature did not show clear evidence for obesity as a risk factor. See Smith Dep. (Lopez) at

79:5–80:1. And like Schneider, Smith did not describe or cite a single study in his report to

support his opinion that obesity is a weak risk factor. In fact, the only time Smith appears to have

discussed an article about obesity as a risk factor was when Monsanto showed him an article at

deposition that listed obesity as a factor that could lead to NHL along with immune disorders,

infection, genetics, and occupational hazards. See id. at 83:3–7. In other words, his testimony
that obesity is “a possible contributor” does not appear to be based in a reliable review of the

literature. Id. at 79:23.

        The Court will withhold ruling on Monsanto’s motion for summary judgment until the

Court has finished deciding the remaining Wave 7 Daubert motions. See Pretrial Order No. 314

(Dkt. No. 20341) at 3–4.

        IT IS SO ORDERED.

Dated: March 20, 2025
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                                              VINCE CHHABRIA
                                              United States District Judge



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